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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE


In re:                                                     Chapter 7

ART VAN FURNITURE, LLC., et al.,1                          Case No. 20-10553 (CSS)

                                  Debtors.                 Jointly Administered


TODD STEWART and JENNIFER SAWLE on                         Adv. Pro. No. 20-50548 (CSS)
behalf of themselves and all others similarly
situated,

                                  Plaintiff,
v.

ART VAN FURNITURE, LLC, et al.,

                                  Defendants.




                      STIPULATION EXTENDING TIME OF DEFENDANTS
                              TO RESPOND TO COMPLAINT


                    Plaintiffs Todd Stewart and Jennifer Sawle (“Plaintiffs”), and Alfred T. Giuliano,

 chapter 7 trustee (the “Trustee”) to the estates of the above-captioned debtors (the “Debtors”), by

 and through their undersigned counsel, hereby stipulate and agree as follows:




 1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
 include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings
 I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van
 Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
 Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors’
 service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.



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                                             RECITALS

                   1.    March 23, 2020, Plaintiffs filed their Complaint for Violation Of Warn

Act 29 U.S.C. § 2101, Et Seq. [Adv. Docket No. 1] (the “Complaint”) in the above-captioned

adversary proceeding;

                   2.    On March 23, 2020, the Clerk of Court issued the Summons and Notice of

Pretrial Conference in Adversary Proceeding [Adv. Docket No. 3];

                   3.    On March 24, 2020, the Clerk of Court issued the Amended Summons and

Notice of Pretrial Conference in Adversary Proceeding [Adv. Docket No. 4] (the “Amended

Summons”);

                   4.    Pursuant to the Amended Summons, the current deadline for the Trustee to

respond to the Complaint (the “Response Deadline”) is April 24, 2020, and the pretrial

conference has yet to be determined.

                   5.    Pursuant to Rule 7012-2 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the Parties may, by stipulation—and without a court order—extend the Trustee’s time to

respond to the complaint for 30 days.

                   6.    To avoid the cost of litigation, the Parties have agreed to continue the

Defendants’ time to respond to the Complaint until May 24, 2020.

                   WHEREFORE, the Parties stipulate that:

                   7.    The Trustee shall have through and including May 24, 2020 to respond to

the Complaint.

                   8.    This Stipulation is without prejudice to any party’s substantive rights.


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Dated: April 24, 2020                  PACHULSKI STANG ZIEHL & JONES LLP


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                                       Trustee


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